Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 1 of 41




                         EXHIBIT A
    Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 2 of 41




                                                                                             Suite 2800, 1100 Peachtree Street NE
                                                                                                          Atlanta, GA 30309-4528
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                                                                                                       direct dial 404 815 6549
June 9, 2023                                                                                           direct fax 404 541 3373
                                                                                             BBrewster@kilpatricktownsend.com
By eFile

The Honorable Thérèse Wiley Dancks
United States District Court
100 S. Clinton Street
Syracuse, New York 13261

       Re:     Car-Freshner Corp. v. Energizer Holdings, Inc., No. 5:23-cv-285-DNH-TWD

Dear Judge Dancks:

        We write on behalf of Defendants Energizer Holdings, Inc., Energizer Brands, LLC, and
Energizer Auto, Inc. (“Energizer”) to ask that the Court resolve the parties’ dispute over whether
Daniel Sämann, who is not only General Counsel for Plaintiff Car-Freshner Corporation (“Car-
Freshner”) but also a key decision-maker for Car-Freshner, should be permitted to review
Energizer’s most sensitive competitive information. Paragraphs 2 and 3 of Energizer’s
proposal—which is otherwise identical to Plaintiffs’—prohibit all but specifically named
individuals (not including Mr. Sämann) from reviewing documents and information designated
“attorneys’-eyes-only” by the parties. See Exhibit 1.

        In the parties’ prior litigation, Car-Freshner Corp. v. American Covers, LLC et al., No.
5:17-cv-171 (TJM/ATCB), Judge Baxter resolved this exact same dispute in Energizer’s favor.
In that case, Car-Freshner freely admitted that Mr. Sämann was involved in his company’s
competitive decision-making, writing: “While Energizer may have separate in-house counsel that
purport to have no business roles, that is not the case for Mr. Sämann ….” See Exhibit 2 (ECF
31) at 3. Judge Baxter therefore entered Energizer’s proposed language, allowing disclosure of
“attorneys’-eyes-only” materials to certain named individuals and not to Mr. Sämann. See
Exhibit 3 (ECF 39) at 2 ¶ 2(c); id. at 3 ¶ 3.




             ATLANTA AUGUSTA CHARLOTTE DALLAS DENVER LOS ANGELES NEW YORK RALEIGH SAN DIEGO SAN FRANCISCO

                SEATTLE SHANGHAI SILICON VALLEY STOCKHOLM TOKYO WALNUT CREEK WASHINGTON WINSTON-SALEM
    Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 3 of 41


The Honorable Thérèse Wiley Dancks
June 9, 2023
Page 2

        The Complaint alleges that “Plaintiffs and Defendants are direct competitors in the U.S.
automotive air freshener market.” ECF 1 ¶ 9. And though Mr. Sämann may hold fast to his
ethical obligations as an attorney and officer of the court, that is “of no consequence” because
the question is whether Mr. Sämann’s business roles “create a serious risk of the inadvertent
disclosure of confidential documents and information” about a direct competitor. See Norbrook
Labs. Ltd. v. G.C. Hanford Mfg. Co., 2003 WL 1956214, at *5 (N.D.N.Y. Apr. 24, 2003). The
Court should not “endorse a situation that places Mr. [Sämann’s] obligations as an attorney in
direct competition with his fiduciary duty to [Car-Freshner].” See id.

        In this litigation, Car-Freshner has already demanded: “All documents concerning the
conception, creation, design, development, selection, adoption, review, approval, or licensing of
[the Accused] Products”; “All documents concerning consumer research, polls, studies, surveys,
or market research Defendants, or any person acting on Defendants’ behalf, undertook
concerning [the Accused] Products”; “All documents concerning [Energizer’s] sale of [the
Accused] Products”; “All documents concerning [Energizer’s] revenue from the licensing or sale
of [the Accused] Products”; and “Copies of all catalogs, brochures, product lists, sell sheets,
price lists, or similar documents that contain references to [the Accused] Products.” These
documents, and the information contained in them—if disclosed to a direct competitor—would
unquestionably cause significant harm to Energizer. See Koninklijke Philips N.V. v. iGuzzini
Lighting USA, Ltd., 311 F.R.D. 80, 83 (S.D.N.Y. 2015) (“[T]he ‘competitive decisionmaker’
analysis hinges on the risk of inadvertent disclosure, because it is difficult ‘for the human mind
to compartmentalize and selectively suppress information once learned, no matter how well-
intentioned the effort may be to do so.’”) (emphasis added) (citation omitted). Therefore, good
cause exists to protect Energizer’s most sensitive competitive information from Mr. Sämann.

        Car-Freshner will suffer no harm from the Court’s adoption of Energizer’s proposed
language, for at least four reasons. First, Car-Freshner has employed competent outside counsel
who have represented Car-Freshner in numerous cases and can properly formulate case strategy
based on Energizer’s highly confidential information. Second, at least one of Car-Freshner’s in-
house legal professionals—Ms. Waite-Holland and her staff—will have access to Energizer’s
highly confidential information. Third, Energizer will agree to Mr. Sämann reviewing specific
highly confidential information required to facilitate settlement (which Energizer did in the last
case). And fourth, the parties have already agreed to a procedure for challenging confidentiality
designations.

         During the conferral process, Car-Freshner’s counsel threatened to challenge
Energizer’s in-house counsel’s ability to review Car-Freshner’s “attorneys’-eyes-only”
documents and information. Accordingly, Energizer submits the sworn declarations of Tamika
Newson and Kari Wangensteen as Exhibits 5 and 6, respectively. Each declaration conclusively
establishes that Ms. Newson and Ms. Wangensteen are not involved in, or present during,
competitive decision-making at Energizer.

        For the foregoing reasons, Energizer respectfully requests that the Court take the same
position as Judge Baxter, and sign and enter the proposed protective order attached as Exhibit 1.
      Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 4 of 41


The Honorable Thérèse Wiley Dancks
June 9, 2023
Page 3


                                        Sincerely,




                                        William H. Brewster


Enclosures

cc:     Counsel of Record (via eFile)
Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 5 of 41




                         EXHIBIT 1
    Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 6 of 41




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 CAR-FRESHNER CORPORATION and JULIUS SÄMANN
 LTD.,

                                 Plaintiffs,                                 [PROPOSED]
                                                                             STIPULATED
                        v.                                                PROTECTIVE ORDER

 ENERGIZER HOLDINGS, INC., ENERGIZER BRANDS,                                  Civil Action No.
 LLC, and ENERGIZER AUTO, INC.,                                           5:23-cv-285 (DNH/TWD)

                                  Defendants.


       Pursuant to FED. R. CIV. P. 26(c), and the stipulation and agreement of the parties to this

action, by and through their respective counsel of record,

       IT IS HEREBY ORDERED that if, during the course of this action, any named party to

this action (individually, “Party,” or collectively, “Parties”), has the occasion to disclose

information deemed by such Party to constitute confidential information of the type contemplated

by FED. R. CIV. P. 26(c), the following procedures shall be employed and the following restrictions

shall govern:

       1.       Any documents, answers to interrogatories or document requests, deposition

transcripts, or portions thereof, responses to requests for admissions, or any other material, or

portions thereof (“Material”) provided by any Party to another Party during the pendency of this

action may be designated, in whole or in part, “Confidential” or “Confidential – Attorneys’ Eyes

Only” by counsel for the Party producing such Material at the time of its production, by clearly

and prominently marking it as such. The producing Party should apply such designations only

where the producing Party has a good faith belief that the designated Material contains confidential

commercial information that would put the producing Party at a competitive disadvantage if the

information became known to third parties. Third parties who produce or disclose Material in this
    Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 7 of 41




action may also so designate, and thereby avail themselves of the protections of this Order, if they

agree to be bound by its terms and conditions.

       2.       The recipient of Material designated as “Confidential” may share such Material,

without the prior written consent of each Party who produced the applicable Material or further

order of this Court, only with the following qualified persons:

               a.      the Court, its staff, and any certified stenographic reporter or persons

       assisting such reporter in the taking, transcription, recording, or other handling of any

       deposition or trial transcript or recording;

               b.      outside counsel for the Parties, including counsel of record, as well as their

       respective paralegals, other employees, vendors, and independent contractors assisting

       such counsel in this action;

               c.      Leah Waite-Holland (in-house legal professional for Plaintiffs) and Kari

       Wangensteen and Tamika Newson (in-house attorneys for Defendants), and their

       respective paralegals, vendors, and independent contractors working under their

       supervision in connection with this action;

               d.      in-house counsel of each Party having responsibility for providing oversight

       of, or assistance in, this action, including their respective paralegals, vendors, and

       independent contractors assisting such counsel in this action;

               e.      court-appointed mediators engaged in facilitating settlement discussions

       under the Local Rules of this Court, including their respective employees, vendors, and

       independent contractors assisting such mediators in the mediation of this action;




                                                  2
    Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 8 of 41




                f.      officers, directors, and employees of the receiving Party who are not

        covered by Paragraph 2(c) but to whom disclosure is reasonably necessary for the purposes

        of assisting in this action;

                g.      persons specially retained by the Parties as experts, investigators, or

        consultants to assist in the preparation of this action for trial who are bona fide experts in

        the fields relevant to the subject matter of this action, except that such persons may be

        shown information and documents designated under this Order only to the extent necessary

        to render such expert assistance, and only after signing the written Assurance of

        Confidentiality attached hereto as Exhibit A; and

                h.      any other person whom the Parties agree, in writing, to designate, except

        that such persons may be shown information and documents designated under this Order

        only after signing the written Assurance of Confidentiality attached hereto as Exhibit A.

        3.      The Parties recognize that there may be certain sensitive, confidential, financial,

business, and/or proprietary Material, the disclosure of which to certain categories of persons

designated in Paragraph 2, supra, may compromise and/or jeopardize the disclosing Party’s

interests. Such Material may be designated “Confidential – Attorneys’ Eyes Only,” and shall only

be disclosed to the persons identified in (a), (b), (c), (e), (g), and (h) in Paragraph 2, supra, and for

those persons identified in (g) and (h), they must first sign the written Assurance of Confidentiality

attached hereto as Exhibit A. Every signed Assurance of Confidentiality required to be obtained

under this Order shall be maintained by outside counsel of record for the Party obtaining it, and

shall be made available, upon request, for inspection by this Court in camera.

        4.      The attorneys of record for a Party who wishes to disclose Material designated

“Confidential” or “Confidential – Attorneys’ Eyes Only” to persons other than those qualified to



                                                   3
    Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 9 of 41




receive such Material under Paragraphs 2 or 3, supra, shall notify the attorneys of record for the

producing Party. The attorneys shall discuss in good faith whether disclosure can be made. If the

attorneys cannot agree, then the Party seeking disclosure shall move the Court, on reasonable

notice, for an order permitting disclosure. Pending a ruling by the Court, no disclosure of the

Material to persons, other than those qualified to receive the Material under Paragraphs 2 or 3,

supra, shall be made.

       5.      Material designated “Confidential” or “Confidential – Attorneys’ Eyes Only” shall

not be communicated in any manner, either directly or indirectly, to any person or entity not

permitted to receive disclosure of such Material pursuant to this Order. Any copies of such

Material, abstracts, summaries, or information derived therefrom, and any notes or other records

regarding the contents thereof, also shall be deemed “Confidential” or “Confidential – Attorneys’

Eyes Only,” in keeping with the producing Party’s designation, and the same terms regarding

confidentiality of the originals shall apply to these materials. Material designated “Confidential”

or “Confidential – Attorneys’ Eyes Only” shall be used only for purposes directly related to this

action. Nothing herein shall limit the right of a producing Party to use Material it has disclosed as

it sees fit. Further, nothing herein shall limit the right of the receiving Party from showing

information designated by the producing Party as “Confidential” or “Confidential – Attorneys’

Eyes Only” to the producing Party’s witness during deposition or trial.

       6.      If a receiving Party disputes a producing Party’s designation of information as

“Confidential” or “Confidential – Attorneys’ Eyes Only,” the receiving Party shall notify the

producing Party in writing of the basis for the dispute, identifying the specific Material as to which

the designation is disputed and proposing a new designation for such Material. The receiving Party

and the producing Party shall then confer by phone to attempt to resolve the dispute without



                                                  4
   Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 10 of 41




involvement of the Court. If they do not resolve the dispute, the proposed new designation shall

be applied 14 days after notice of the dispute unless within that fourteen-day period the producing

Party files a motion with the Court to maintain the producing Party’s designation. The producing

Party bears the burden of proving that the information is properly designated as “Confidential” or

“Confidential – Attorneys’ Eyes Only.” In the event such an application is made, the information

shall remain subject to the producing Party’s “Confidential” or “Confidential – Attorneys’ Eyes

Only” designation until the Court rules on the dispute. A Party’s failure to contest a designation of

information as “Confidential” or “Confidential – Attorneys’ Eyes Only” is not an admission that

the information was properly designated as such.

         7.     The subject matter of all depositions given in connection with this action, and the

original and all copies of the transcripts and recordings of any such depositions, shall be deemed

to be “Confidential – Attorneys’ Eyes Only” for a period ending 21 days after the transcript is

received by counsel. On or before the 21st day after any deposition transcript is received by

counsel, such transcript may be designated, in whole or in part, “Confidential” or “Confidential –

Attorneys’ Eyes Only” by counsel for the designating Party, and the portions of the transcript of

the deposition so designated (and any recordings of those portions of the deposition) shall be

subject to the provisions of this Order. Such designation may be made by any of the following

means:

                a.     stating orally, on the record, with reasonable precision as to the affected

         testimony, during the taking of the deposition, that the information is “Confidential” or

         “Confidential – Attorneys’ Eyes Only,” in which case the court reporter shall mark each

         page so designated accordingly; or




                                                 5
   Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 11 of 41




               b.      sending written notice to all other Parties, designating, by page and line, the

       portions of the transcript to be treated as “Confidential” or “Confidential – Attorneys’ Eyes

       Only,” whereupon the Parties shall attach a copy of the written designation to the face of

       the transcript, and each copy thereof, in the Party’s possession, custody, or control.

       8.      When Material marked “Confidential” or “Confidential – Attorneys’ Eyes Only”

likely will be presented, quoted, or referenced during any hearing, trial, or other court proceeding,

any Party claiming confidentiality shall have the right to make arrangements, or, where

appropriate, request the Court to ensure that only the persons who are permitted to access the

Material in accordance with Paragraph 2 or 3, supra, are present.

       9.      If, at any time prior to the trial of this action, a producing Party realizes that some

portion(s) of the Material that the Party previously produced without such designation should be

designated as “Confidential” or “Confidential – Attorneys’ Eyes Only,” then the Party may so

designate by so advising all Parties in writing, and such designated portion(s) of the Material will

thereafter be treated as designated. Any disclosures of Material made before such designation as

“Confidential” or “Confidential – Attorneys’ Eyes Only” shall not be deemed a violation of this

Order, but the receiving Party shall make reasonable efforts to retrieve such Material from any

persons (other than those qualified to receive the Material under Paragraphs 2 or 3, supra) to whom

the receiving Party disclosed such Material before such designation. If, at any time, a producing

Party realizes that Material previously designated “Confidential” or “Confidential – Attorneys’

Eyes Only” should not have been so designated or no longer qualifies for such designation, then

the Party promptly shall inform counsel for the non-producing Party and shall produce copies of

the Material without such designation.




                                                 6
   Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 12 of 41




       10.     Prior to filing any pleadings, responses to requests for discovery, motions, or other

documents with the Court that contain, summarize, excerpt, or otherwise embody any Material

designated as “Confidential” or “Confidential – Attorneys’ Eyes Only,” the information shall be

designated appropriately under this Order, and the filing Party shall seek leave to file the

designated information under seal or in redacted form in accordance with N.D.N.Y. Local Rule

5.3, and, upon permission, file the documents under seal or in redacted form. If the Court requests

additional support in response to any request for leave to file under seal, then the Party that

designated the Material as “Confidential” or “Confidential – Attorneys’ Eyes Only” shall bear the

burden of supporting such designation to the Court.

       11.     If a Party determines that it inadvertently has disclosed information that it believes

is protected by the attorney-client privilege, entitled to work product protection, or otherwise

immune from discovery (“Privilege”), then the Party shall notify, in writing, the receiving Party

of the claim of Privilege, set forth the basis for the claim, and request that the Material containing

the information be returned or destroyed. If the Party learns of the inadvertent disclosure during a

deposition or court proceeding, then the Party may notify the receiving Party and make the request

orally, on the record, during the relevant proceeding. In either case, if such a request is made, then

no Party shall thereafter assert waiver of Privilege with respect to the information as a result of the

inadvertent disclosure. If the receiving Party contends that the information is not entitled to

Privilege in the first instance, then the receiving Party retains the right to challenge a claim of

Privilege. Regardless of whether it agrees with or contests the other Party’s claim of Privilege, the

receiving Party will return or destroy the inadvertently produced Material, and all copies and

derivations thereof, within 5 business days of receipt of the request for return of the Material.




                                                  7
    Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 13 of 41




       12.     Nothing contained herein shall preclude any Party from presenting a motion to the

Court for a separate or different protective order as to any particular Material, including restrictions

differing from those specified in this Order.

       13.     The Parties will make best efforts not to designate as “Confidential” or

“Confidential – Attorneys’ Eyes Only” any Material consisting solely of publicly available

information.

       14.     If a Party is served with a subpoena, request for production, or other form of

discovery request in connection with other litigation or a matter other than this action that would

require disclosure of any Material designated in this action by another Party as “Confidential” or

“Confidential – Attorneys’ Eyes Only,” then such Party shall notify the other Party as soon as

reasonably possible. If the designating Party objects to the production of such Material, then the

Party served with the subpoena, request for production, or other form of discovery request shall

not produce any such Material absent an order by the applicable tribunal.

       15.     Within 45 days after the conclusion of this action, all Parties and their respective

counsel shall destroy or return all Material designated “Confidential” or “Confidential – Attorneys’

Eyes Only;” provided, however, that outside counsel of record may retain for their files copies of

any pleadings, correspondence, filings, discovery requests and responses, depositions, expert

reports, and attorney work product. Conclusion of this action shall mean when a final, non-

appealable judgment is entered or a final settlement is reached. Within 60 days of the conclusion

of this action, the Party returning or destroying Material under this Paragraph shall provide written

notice to the producing Party attesting to the return or destruction of all designated Material.




                                                   8
   Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 14 of 41




       16.     All provisions of this Order, and all restrictions relating to the disclosure or use of

any Material designated “Confidential” or “Confidential – Attorneys’ Eyes Only,” shall continue

to be binding, even after the conclusion of this action.

       17.     The Parties agree that, after the conclusion of this action, any dispute arising from

this Order and any application for direction, order, or further decree as may be appropriate for the

construction, modification, enforcement, or compliance wherewith, or for the punishment of any

violation hereof, or for such additional relief as may become necessary to realize the intentions of

this Order, shall be directed to this Court, or, if this Court determines jurisdiction is lacking, then

to a court of competent jurisdiction within the State of New York.




 IT IS SO ORDERED.



 Dated: ___________________, 2023              SO ORDERED:
        Syracuse, New York


                                               ________________________________
                                               Thérèse Wiley Dancks
                                               U.S. Magistrate Judge




                                                  9
Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 15 of 41




                          EXHIBIT A
                 ASSURANCE OF CONFIDENTIALITY
    Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 16 of 41




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 CAR-FRESHNER CORPORATION and JULIUS SÄMANN
 LTD.,

                                   Plaintiffs,                                 ASSURANCE OF
                                                                              CONFIDENTIALITY
                         v.
                                                                                 Civil Action No.
 ENERGIZER HOLDINGS, INC., ENERGIZER BRANDS,                                 5:23-cv-285 (DNH/TWD)
 LLC, and ENERGIZER AUTO, INC.,

                                   Defendants.


         I, _____________________________, acknowledge that I have read and that I understand

the Stipulated Protective Order in this action governing the non-disclosure of Material that has

been designated as “Confidential” or “Confidential – Attorneys’ Eyes Only.” I agree that I will

not disclose such Material to anyone other than as permitted by the Stipulated Protective Order,

and that at the conclusion of this action, I will return all disclosed Material to the Party or attorney

from whom I received it or destroy it. By acknowledging these obligations under the Stipulated

Protective Order, I understand that I am submitting myself to the jurisdiction of the United States

District Court for the Northern District of New York for the purpose of any issue or dispute arising

hereunder, and that my willful violation of the Stipulated Protective Order could subject me to

punishment for contempt of Court.


Signature:

Printed Name:

Company & Position:

Dated:
Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 17 of 41




                       EXHIBIT 2
   Case 5:23-cv-00285-DNH-TWD
     Case 5:17-cv-00171-TJM-ATB Document
                                 Document17-1 Filed07/31/17
                                          31 Filed  06/09/23 Page
                                                              Page118
                                                                    of of
                                                                       2541




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                                                                                                         direct dial 404 815 6321
July 31, 2017                                                                                            direct fax 404 541 3373
                                                                                             prosenblatt@kilpatricktownsend.com
By eFile

The Honorable Andrew T. Baxter
U.S. Magistrate Judge
Federal Building and U.S. Courthouse
P.O. Box 7396
Syracuse, NY 13261-7396

       Re:      CAR-FRESHNER CORPORATION, ET AL. V. AMERICAN COVERS, LLC, ET AL.
                CIVIL ACTION NO.: 5:17-CV-171 (TJM/ATCB)


Dear Judge Baxter:

        Per the Court’s July 20 Order (ECF 30), we write on behalf of Defendants American
Covers, LLC, Energizer Holdings, Inc., and Energizer Brands, LLC (“Energizer”) in response to
Plaintiffs’ July 17 letter (ECF 29).

       The parties concur that a stipulated protective order is appropriate and have agreed to
most of the relevant terms, including that it should be two-tier (i.e., the ability to designate
confidential information as either CONFIDENTIAL or ATTORNEYS’ EYES ONLY (“AEO”)).
The parties, however, disagree as to who should be allowed to view AEO-designated documents:

   •   Energizer’s position is that specific in-house counsel—who are not competitive
       decisionmakers—should be allowed to view all documents produced in this litigation,
       including those marked AEO (while taking appropriate steps to protect the information);
       and

   •   Plaintiffs’ position is that documents marked AEO should be viewable by outside counsel
       only because, in short, Plaintiff’s only in-house counsel admittedly is a “competitive
       decisionmaker.”

        In writing to the Court, Plaintiffs’ letter refers to the case law provided by Energizer, and
acknowledges that it is the “appropriate test,” but complains that applying the well-accepted
legal standard here “would have an inequitable outcome, and unfairly prejudice Plaintiffs.”

        The legal rules regarding in-house counsel access to documents are well settled—“a
denial of access sought by in-house counsel on the sole ground of their status as in-house counsel




             ATLANTA AUGUSTA CHARLOTTE DALLAS DENVER LOS ANGELES NEW YORK RALEIGH SAN DIEGO SAN FRANCISCO

                SEATTLE SHANGHAI SILICON VALLEY STOCKHOLM TOKYO WALNUT CREEK WASHINGTON WINSTON-SALEM
   Case 5:23-cv-00285-DNH-TWD
     Case 5:17-cv-00171-TJM-ATB Document
                                 Document17-1 Filed07/31/17
                                          31 Filed  06/09/23 Page
                                                              Page219
                                                                    of of
                                                                       2541

The Honorable Andrew T. Baxter
July 31, 2017
Page 2

is error.” U.S. Steel Corp. v. U.S., 730 F.2d 1465, 1469 (Fed. Cir. 1984). As summarized in
Koninklijke Philips N.V. v. iGuzzini Lighting USA, Ltd., 311 F.R.D. 80, 82–83 (S.D.N.Y. 2015):

       The question of an in-house attorney’s access to confidential information must be
       resolved on a “case-by-case basis” by assessing “each individual counsel’s actual activity
       and relationship with the party represented, without regard to whether a particular
       counsel is in-house or retained. This determination should turn on the extent to which
       counsel in involved in “competitive decision making” with the client. “Competitive
       decisionmaking” is “shorthand for a counsel’s activities, association, and relationship
       with a client that are such as to involve counsel’s advice and participation in any or all of
       the client’s decisions (pricing, product design, etc.) made in light of similar or
       corresponding information about a competitor.”

Accord Amgen, Inc. v. Elanex Pharms., Inc., 160 F.R.D. 134, 139 (W.D. Wash. 1994) (“In-house
counsel in the instant case … are not involved in competitive decision-making, which is arguably
the determinative factor in this analysis.”). If a court finds a risk of “inadvertent disclosure or
competitive use,” it “must balance this risk against the potential harm to the opposing party.”
Koninklijke Philips, 311 F.R.D. at 84.

       Energizer’s proposal allows three designated in-house counsel—Kate Dugan, Andy
Whitehead, and Kelly Boss—to have access to AEO documents, and a declaration from each of
them is enclosed.

       Ms. Dugan, Assistant General Counsel for Energizer Holdings, Inc., is responsible for
overseeing litigation at Energizer, and in that role she is the liaison between outside counsel and
Energizer’s in-house litigation team. In this case, she is and will be involved on a regular basis in
developing and implementing case strategies, drafting and reviewing briefs, attending
depositions, working with experts, etc.

        Mr. Whitehead, Senior Intellectual Property and Data Privacy Counsel for Energizer
Holdings, Inc., is responsible for advising Energizer on and handling trademark, copyright, and
trade secret issues. When those issues are involved in litigation, he shares case responsibility
with Ms. Dugan, and has a similar role. For example, either Ms. Dugan or Mr. Whitehead will
participate in preparing to depose Plaintiffs’ employees and would attend those depositions.
They also would work on briefing at all stages of the case. While Ms. Dugan and Mr. Whitehead
have these roles in many cases, their involvement here is likely to be heightened where Energizer
already has discontinued selling the products at issue, and the goal is to minimize on-going
expense.

        Neither Ms. Dugan or Mr. Whitehead provide advice or counsel to Energizer on, or
participate in, making its everyday business decisions involving issues like finances, product
pricing, product selection, product design, channels of trade, competitive activities or analysis,
marketing channels, marketing and advertising, or product naming (except as they may relate to
trademark or copyright issues, such as clearance of potential marks, filing applications, or
handling litigation matters). In short, neither has any role in competitive decisionmaking.
   Case 5:23-cv-00285-DNH-TWD
     Case 5:17-cv-00171-TJM-ATB Document
                                 Document17-1 Filed07/31/17
                                          31 Filed  06/09/23 Page
                                                              Page320
                                                                    of of
                                                                       2541

The Honorable Andrew T. Baxter
July 31, 2017
Page 3

        Ms. Boss, Vice President and General Counsel for Energizer Holdings, Inc., has ultimate
responsibility and oversight for Energizer’s litigation strategy and would be involved in
negotiating and approving any settlement, which includes after reviewing relevant documents,
including the parties’ briefing, depositions transcripts and exhibits, and the like. Like Ms. Dugan
and Mr. Whitehead, she is not involved in the competitive decisionmaking process or everyday
business decisions of Energizer’s air freshener business. See Matsushita Elec. Indus. Co. v. U.S.,
929 F.2d 1577, 1580 (Fed. Cir. 1991) (“[T]he standard is not ‘regular contact’ with other
corporate officials who make ‘policy,’ or even competitive decisions, but ‘advice and
participation’ in ‘competitive decisionmaking.’”); Infosint S.A. v. H. Lundbeck A.S., No.
06CIV2869LAKRLE, 2007 WL 1467784 (S.D.N.Y. May 16, 2007) (“[T]here is no precedent
that general corporate legal advice constitutes involvement in competitive decision-making.”).

        Plaintiffs’ admit that their lone in-house lawyer, Mr. Sämann, engages in competitive
decisionmaking. (Specifically, counsel wrote: “While Energizer may have separate in-house
counsel that purport to have no business roles, that is not the case for Mr. Sämann at CFC.”). As
a result, Mr. Sämann falls squarely in the category of persons that should not receive highly
confidential business information. See Koninklijke Philips, 311 F.R.D. at 83 (“[T]he ‘competitive
decisionmaker’ analysis hinges on the risk of inadvertent disclosure, because it is difficult ‘for
the human mind to compartmentalize and selectively suppress information once learned, no
matter how well-intentioned the effort may be to do so.’”) (emphasis in original); see also
Autotech Techs. LP v. Automationdirect.com, Inc., 235 F.R.D. 435, 445 (N.D. Ill. 2006) (same).

       The burden here is on Plaintiffs, who are attempting to restrict access to information, to
show “good cause” for why Energizer’s designated in-house counsel should be prohibited from
viewing AEO documents. Koninklijke Philips, 311 F.R.D. at 85; see also Fed. R. Civ. P.
26(c)(1). Plaintiffs do not attempt to do so via any traditional argument. Instead, Plaintiffs
complain that application of the pertinent test would “have an inequitable outcome, and unfairly
prejudice Plaintiffs.” (ECF 29 at 2).

         With respect to the so-called “inequitable outcome” achieved by following the applicable
legal rule, one response is embodied in the phrase “fair does not mean equal.” The Federal Rules
favor disclosure of information, and the law allows disclosure to in-house counsel who does not
engage in completive decisionmaking; that rule is fair and appropriate, even if it does not yield
identical results for each party. In fact, Plaintiffs find themselves in this position because they
insist on pursuing a trademark infringement lawsuit in which Defendants – to avoid the cost of
litigation – agreed to discontinue sales of the two products at issue that had been sold for only
short periods of time. Instead of resolving the case, Plaintiffs served expansive written discovery
and are insisting on pursuing multiple depositions. Plaintiffs are in this position of their own
making.

       With respect to the assertion that following the correct legal rule would “unfairly
prejudice Plaintiffs,” that contention is entirely conclusory; no attempt is made to explain the
purported prejudice (either in kind or amount). Courts uniformly reject non-specific claims of
prejudice. See Autotech Techs., 235 F.R.D. at 440 (“Conclusory statements are not sufficient.”);
    Case 5:23-cv-00285-DNH-TWD
      Case 5:17-cv-00171-TJM-ATB Document
                                  Document17-1 Filed07/31/17
                                           31 Filed  06/09/23 Page
                                                               Page421
                                                                     of of
                                                                        2541

The Honorable Andrew T. Baxter
July 31, 2017
Page 4

see generally Gulf Oil Co. v. Bernard, 452 U.S. 89, 102 n. 16 (1981) (“To establish ‘good cause’
for a protective order …, the courts have insisted on a particular and specific demonstration of
fact, as distinguished from stereotyped and conclusory statements.”); 8A Charles A. Wright, et
al., Fed. Prac. & Proc. § 2035 (3d ed. 2017) (same). 1

        Plaintiffs’ complaints about speculative “prejudice” never suggest any realistic concern
with the handling of the AEO information. Out of an abundance of caution, Energizer will adopt
additional precautions, including (1) no printed versions of AEO materials shall be maintained
by in-house Energizer lawyers; (2) AEO materials shall be accessed only on a password-
protected computer to which they have the only access. Of course, all of the in-house counsel
also are members of state and federal bars, subject to professional responsibility requirements,
and would take seriously their obligations under the terms of the Protective Order.

        Plaintiffs’ letter to the Court suggests that the parties should rely exclusively on a
provision (in paragraph 4 of the proposed order) that would “allow[] either party to seek
permission to share AEO information with in-house counsel or any other persons, as necessary.”
ECF 29 at 2. While that type of provision is an appropriate safety valve, the law very specifically
mandates that access should be permitted to individuals (satisfying the competitive
decisionmaking standard) without having to jump through those hoops on a document-by-
document basis. Moreover, this provision is impractical in the context of depositions (where
Plaintiffs employees would be shown dozens of documents), or in the context of briefing where
dozens of documents may be cited, as well as deposition testimony regarding those documents.

       Plaintiffs’ letter includes a footnote referencing the possibility of an evidentiary hearing.
But the case Plaintiffs cite involved a situation in which the in-house counsel was “the sole legal
advisor and personnel manager” and “one of thirteen or fourteen employees” at the entire
company. 2 Courts routinely decide whether in-house counsel should be permitted to see
documents without a hearing and based on declarations alone. See, e.g., Sanofi-Aventis U.S. LLC
v. Breckenridge Pharm., Inc., CV 15-289 (MAS)(LHG), 2016 WL 308795, at *1 (D.N.J. Jan. 25,
2016) (granting defendant’s “request that their in-house attorney be permitted access to outside-
counsel-only documents” based on declarations only); Fleming v. Parnell, C13-5062 BHS, 2013
WL 4551851, at *4 (W.D. Wash. Aug. 28, 2013) (denying plaintiffs’ motion for a protective
order against defendant’s in-house counsel based on declaration testimony); SmartSignal Corp.
v. Expert Microsystems, Inc., No. 02 C 7682, 2006 WL 1343647, at *5 (N.D. Ill. May 12, 2006)
(denying defendant’s motion for a protective order to prevent plaintiff’s in-house counsel from
viewing highly confidential documents based on declaration testimony); Nazomi Commc’ns, Inc.

1
  Plaintiffs’ expressions of concerns also are belied by the process of negotiating this protective order.
When Energizer insisted “that at least certain of its in-house counsel be permitted to view all documents
produced in this litigation,” offering “to designate the specific in-house counsel by name” and to represent
that they “are not competitive decision makers,” Plaintiffs’ response was to agree to in-house counsel
access (if it was limited to two per side). Only after Energizer sought assurances that Plaintiffs’ in-house
counsel did not engage in “competitive decision-making” did Plaintiffs change their position and offer the
(conclusory) allegation of “unfair prejudice.”
2
  Brown Bag Software v. Symantec Corp., 960 F.3d 1465, 1471 (9th Cir. 1992).
      Case 5:23-cv-00285-DNH-TWD
        Case 5:17-cv-00171-TJM-ATB Document
                                    Document17-1 Filed07/31/17
                                             31 Filed  06/09/23 Page
                                                                 Page522
                                                                       of of
                                                                          2541

The Honorable Andrew T. Baxter
July 31, 2017
Page 5

v. Arm Holdings PLC, No. C 02-02521-JF, 2002 WL 32831822, at *3 (N.D. Cal. Oct. 11, 2002)
(holding plaintiff’s in-house counsel could view highly confidential documents based only on an
“uncontroverted declaration” from plaintiff’s in-house counsel). An evidentiary hearing is
particularly unnecessary here where the issue of whether in-house counsel is a competitive
decisionmaker is not a close one, and the request is part of a scorched-earth approach.

        In light of the foregoing, Energizer requests that the Court enter a protective order
allowing Energizer’s designated in-house counsel to view documents designated AEO. Enclosed
is a proposed order, which is identical to the order proposed by Plaintiffs except with respect to
Paragraph 2(b).

                                             Sincerely,




                                             William H. Brewster


Enclosures

cc:     Counsel of Record (via eFile)
Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 23 of 41




                       EXHIBIT 3
   Case 5:23-cv-00285-DNH-TWD
     Case 5:17-cv-00171-TJM-ATB Document
                                 Document17-1 Filed09/15/17
                                          39 Filed  06/09/23 Page
                                                              Page124
                                                                    of of
                                                                       1141



                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK


 CAR-FRESHNER CORPORATION,

 and

 JULIUS SÄMANN LTD.,

                                      Plaintiffs,
                                                          Civil Action No.: 5:17-cv-171
                       v.                                 (TJM/ATB)

 AMERICAN COVERS, LLC F/K/A AMERICAN
 COVERS, INC. D/B/A HANDSTANDS,
 ENERGIZER HOLDINGS, INC., and
 ENERGIZER BRANDS, LLC,

                                      Defendants.



                   STIPULATED CONFIDENTIALITY AGREEMENT &
                              PROTECTIVE ORDER

       Pursuant to Fed. R. Civ. P. 26(c), and the stipulation and agreement by and among

Plaintiffs CAR-FRESHNER Corporation and Julius Sämann Ltd. on the one hand, and Defendants

American Covers, LLC f/k/a American Covers, Inc. d/b/a Handstands, Energizer Holdings, Inc.,

and Energizer Brands, LLC, on the other hand (collectively, the “parties”), by and through their

respective counsel of record,

       IT IS HEREBY ORDERED, that if, during the course of this action, either party has the

occasion to disclose information deemed by such party to constitute confidential proprietary

information of the type contemplated by Fed. R. Civ. P. 26(c), the following procedures shall be

employed and the following restrictions shall govern:

       1.      Any documents, answers to interrogatories or document requests, deposition

transcripts, or portions thereof, responses to requests for admissions, or any other material or
   Case 5:23-cv-00285-DNH-TWD
     Case 5:17-cv-00171-TJM-ATB Document
                                 Document17-1 Filed09/15/17
                                          39 Filed  06/09/23 Page
                                                              Page225
                                                                    of of
                                                                       1141



portions thereof (hereinafter “Material”) provided by either party to the other party during the

pendency of this action may be designated and marked, in whole or in part, “Confidential” or

“Confidential – Attorneys’ Eyes Only” by counsel for the party producing such Material at the

time of its production. The producing party should only apply such designations where the

producing party has a good faith belief that the designated Material contains confidential

commercial information that would put the producing party at a competitive disadvantage if the

information became known to third parties. Third parties who produce or disclose Material in

this action may also so designate, and thereby avail themselves of the protections of this Order, if

they agree to be bound by its terms and conditions.

       2.      The recipient of Material marked as Confidential may share such Material without

the prior written consent of each party who produced the applicable Material or further order of

this Court, only to the following qualified persons:

               (a)     The Court, its officers and employees and any certified stenographic

       reporter or persons assisting such reporter in the taking, transcription, or other handling

       of any deposition or trial transcript;

               (b)     Outside counsel for the parties, including counsel of record, as well as

       their paralegals, other employees, vendors and/or independent contractors assisting in this

       litigation;

               (c)     Kate Dugan, in-house counsel for Defendants, and Leah Waite-Holland,

       Senior Legal Coordinator for plaintiff CAR-FRESHNER Corporation;

               (d)     In-house counsel of each party, and/or their respective affiliates, having

       responsibility for providing oversight of or assistance in this litigation, including their

       paralegals, vendors and/or independent contractors assisting in this litigation;



                                                  2
    Case 5:23-cv-00285-DNH-TWD
      Case 5:17-cv-00171-TJM-ATB Document
                                  Document17-1 Filed09/15/17
                                           39 Filed  06/09/23 Page
                                                               Page326
                                                                     of of
                                                                        1141



                (e)     Mediators, arbitrators or other persons engaged in facilitating settlement

        discussions under the local rules of this Court, including their employees, vendors and/or

        independent contractors assisting in settlement;

                (f)     Witnesses for the parties in this litigation;

                (g)     Officers, directors, and employees of the receiving party to whom

        disclosure is reasonably necessary for purposes of assisting in this action;

                (h)     Persons specially retained by the parties as experts, investigators or

        consultants to assist in the preparation of this litigation for trial who are bona fide experts

        in the fields relevant to the subject matter of this action, except that any such person may

        be shown information and documents designated under this Protective Order only to the

        extent necessary to render such expert assistance, and only after signing the written

        Assurance of Confidentiality attached hereto as Exhibit “A”;

                (i)     Any other person whom the parties have agreed to designate in writing.

        3.      The parties recognize that there may be certain sensitive confidential, financial,

business and/or proprietary documents and information, the disclosure of which to certain

categories of persons listed in paragraph 2 may compromise and/or jeopardize the disclosing

party’s interests. Such Material may be marked “Confidential – Attorneys’ Eyes Only,” and

shall only be disclosed to the persons identified in (a), (b), (c), (h) and (i) in paragraph 2, and for

those in categories (h) and (i) they must also sign the written Assurance of Confidentiality

attached hereto as Exhibit “A.” Every signed Assurance of Confidentiality required to be

obtained under this Protective Order shall be maintained by outside counsel of record for the

party obtaining it and shall be made available, upon request, for inspection by this Court in

camera.


                                                   3
    Case 5:23-cv-00285-DNH-TWD
      Case 5:17-cv-00171-TJM-ATB Document
                                  Document17-1 Filed09/15/17
                                           39 Filed  06/09/23 Page
                                                               Page427
                                                                     of of
                                                                        1141



         4.    The attorneys of record for a party who wishes to disclose Material designated

Confidential or Confidential – Attorneys’ Eyes Only to persons other than those identified in

paragraph 2 and 3 shall notify the attorneys of record for the other party. The attorneys shall

discuss in good faith whether disclosure can be made. If they cannot agree, the party seeking

disclosure shall move the Court, on reasonable notice, for an order permitting disclosure. No

disclosure of the information to persons other than those identified in paragraphs 2 and 3 shall be

made, pending a ruling by the Court.

         5.    Material designated Confidential or Confidential – Attorneys’ Eyes Only shall not

be communicated in any manner, either directly or indirectly, to any person or entity not

permitted to receive disclosure of such Material pursuant to this Order. Any copies of such

Material, abstracts, summaries or information derived therefrom, and any notes or other records

regarding the contents thereof, shall also be deemed Confidential or Confidential – Attorneys’

Eyes Only in keeping with the producing party’s designation, and the same terms regarding

confidentiality of these materials shall apply to the originals. Such Material shall be used only

for purposes directly related to this action. Nothing herein shall limit the right of a party to use

Material it has disclosed as it sees fit. Further, nothing herein shall limit the right of a receiving

party from showing information designated by the producing party as Confidential or

Confidential – Attorneys’ Eyes Only to the producing party’s witness during a deposition or at

trial.

         6.    Nothing herein shall be deemed to limit, prejudice or waive any right of either

party to contest at any time any claim of confidentiality made by any other party pursuant to this

Protective Order with respect to any Material in the litigation. If a receiving party disagrees with

the designation of any Material as Confidential or Confidential – Attorneys’ Eyes Only, the



                                                   4
   Case 5:23-cv-00285-DNH-TWD
     Case 5:17-cv-00171-TJM-ATB Document
                                 Document17-1 Filed09/15/17
                                          39 Filed  06/09/23 Page
                                                              Page528
                                                                    of of
                                                                       1141



parties shall first try to resolve their dispute on an informal basis. If an agreement cannot be

reached between counsel, the parties’ dispute shall be presented to the Court for resolution.

       7.      The subject matter of all depositions given in connection with this action and the

original and all copies of the transcripts of any such depositions shall be deemed to be

Confidential – Attorneys’ Eyes Only for a period ending 30 days after the transcript is received

by counsel. On or before the 30th day after any deposition transcript is received by counsel,

such transcript may be designated and marked, in whole or in part, Confidential or Confidential –

Attorneys’ Eyes Only by counsel for the disclosing party, and the portions of the transcript of the

deposition so marked shall be subject to the provisions of this Order. Such designation may be

made by any of the following means:

               (a)     stating orally on the record, with reasonable precision as to the affected

       testimony, during the taking of the deposition, that the information is Confidential or

       Confidential – Attorneys’ Eyes Only, in which case the court reporter shall mark each

       page so designated accordingly.

               (b)     sending written notice to all other parties, designating, by page and line,

       the portions of the transcript to be treated as Confidential or Confidential – Attorneys’

       Eyes Only, whereupon the parties shall attach a copy of such written designation to the

       face of the transcript and each copy thereof in the party’s possession, custody, or control.

       8.      When Material marked Confidential or Confidential – Attorneys’ Eyes Only will

likely be presented, quoted, or referred to in any hearing, trial or other court proceeding, any

party claiming confidentiality shall have the right to make arrangements or, when appropriate,

request the Court to ensure that only the persons who, in accordance with paragraphs 2 and 3

hereinabove, would be permitted access to the Material, are present.



                                                  5
   Case 5:23-cv-00285-DNH-TWD
     Case 5:17-cv-00171-TJM-ATB Document
                                 Document17-1 Filed09/15/17
                                          39 Filed  06/09/23 Page
                                                              Page629
                                                                    of of
                                                                       1141



       9.      If at any time prior to the trial of this action, a producing party realizes that some

portion[s] of the Material that the party previously produced should be designated as

Confidential or Confidential – Attorneys’ Eyes Only, the party may so designate by so advising

all parties in writing, and such designated portion[s] of the Material will thereafter be treated as

designated. If at any time a producing party realizes that Material previously designated

Confidential or Confidential-Attorneys’ Eyes Only should not have been so designated or no

longer qualifies for such designation, the party shall promptly inform counsel for the non-

producing party and shall produce copies of the Material without such designation.

       10.     Prior to filing any pleadings, responses to requests for discovery, motions or other

documents with the Court that contain, summarize, excerpt, or otherwise embodies any

information designated as Confidential or Confidential- Attorneys’ Eyes Only, the information

shall be designated appropriately under this Stipulated Protective Order and the filing party shall

seek leave to file the designated documents under seal or in redacted form in accordance with

N.D.N.Y.L.R. 83.13, and upon permission, file the documents under seal or in redacted form.

The party that designated the Material as Confidential or Confidential – Attorneys’ Eyes Only

bears the burden of supporting such designation to the Court should it request additional support

in response to any request for leave to file under seal.

       11.     If a party determines it has inadvertently disclosed information that it believes is

privileged or otherwise immune from discovery, the party shall in writing notify the receiving

party of the claim, set forth the basis for the claim, and request that the item or items be returned

or destroyed. If the party learns of the inadvertent disclosure during a deposition or court

proceeding the party may notify the receiving party orally during the relevant proceeding. If

such request is made, no party shall thereafter assert waiver of privilege, work product



                                                  6
   Case 5:23-cv-00285-DNH-TWD
     Case 5:17-cv-00171-TJM-ATB Document
                                 Document17-1 Filed09/15/17
                                          39 Filed  06/09/23 Page
                                                              Page730
                                                                    of of
                                                                       1141



protection, or immunity with respect to the information. The receiving party will, regardless of

whether it agrees with or contests the other party’s claim of privilege, return or destroy the

inadvertently produced documents or material, and all copies and derivations thereof, within 5

business days of receipt of a written request for the return of the documents or material.

       12.     Nothing contained herein shall preclude either party from presenting a motion to

the Court for a separate or different protective order as to any particular Material, including

restrictions differing from those as specified in the Protective Order.

       13.     The parties will make best efforts not to designate as Confidential or Confidential

– Attorneys’ Eyes Only any documents consisting solely of publicly available material.

       14.     If a party is served with a subpoena, request for production, or other form of

discovery in connection with other litigation or a matter other than the present action that would

require disclosure of any Material designated in this action as Confidential or Confidential –

Attorneys’ Eyes Only, such party shall notify the other party as soon as reasonably possible. If

the designating party objects to the production of such Material, the party served with the subpoena,

request for production, or other form of discovery shall not produce any such Material absent an

order by the applicable tribunal.

       15.     Within 45 days after conclusion of the litigation, all parties and their counsel shall

destroy or return all Material designated Confidential or Confidential – Attorneys’ Eyes Only;

provided, however, outside counsel may retain copies for their files of any pleadings,

correspondence, filings, discovery requests and responses, depositions, expert reports, and

attorney work product. Conclusion of the litigation shall mean when a final, non-appealable

judgment is entered, or a final settlement is reached. The party returning or destroying materials




                                                  7
   Case 5:23-cv-00285-DNH-TWD
     Case 5:17-cv-00171-TJM-ATB Document
                                 Document17-1 Filed09/15/17
                                          39 Filed  06/09/23 Page
                                                              Page831
                                                                    of of
                                                                       1141



under this paragraph shall provide written notice to the producing party attesting to the return or

destruction of all designated materials within 60 days of the conclusion of the litigation.

       16.     All provisions of this Protective Order and all restrictions relating to the

disclosure or use of any Material marked Confidential or Confidential – Attorneys’ Eyes Only

shall continue to be binding even after the conclusion of the litigation.

       17.     The parties agree that after conclusion of the litigation, any dispute arising from

this Protective Order and any application for direction, order or further decree as may be

appropriate for the construction, modification, enforcement or compliance herewith or for the

punishment of any violation hereof, or for such additional relief as may become necessary to

realize the intentions of the Protective Order, shall be directed by this Court, or if the Court

determines that jurisdiction is lacking, to a court of competent jurisdiction within the State of

New York.

       18.     The parties agree to be bound by this Order pending the entry of this Order, or an

alternative thereto which is satisfactory to the parties, by the Court, and any violation of this

Order’s terms shall be subject to the same sanctions and penalties as if this Order had been

entered by the Court.

       19.     This Stipulation may be signed in counterparts and a signature by facsimile or

portable document format shall have the same force and effect as an original signature.

       The parties, by their undersigned counsel, stipulate to the foregoing, and consent to the

entry of the above Protective Order.




                                                  8
   Case 5:23-cv-00285-DNH-TWD
     Case 5:17-cv-00171-TJM-ATB Document
                                 Document17-1 Filed09/15/17
                                          39 Filed  06/09/23 Page
                                                              Page932
                                                                    of of
                                                                       1141



Dated: September 14, 2017        By:   /s/ Louis Orbach
                                       Louis Orbach
                                       BOND SCHOENECK & KING, PLLC
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                                       Syracuse, NY 13202
                                       Telephone: (315) 218-8000
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                                       Lacy H. Koonce, III
                                       Jeremy A. Chase
                                       DAVIS WRIGHT TREMAINE LLP
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                                       21st Floor
                                       New York, New York 10020
                                       Telephone: (212) 489-8230
                                       Facsimile: (212) 489-8340
                                       Email: lancekoonce@dwt.com
                                               jeremychase@dwt.com

                                       Counsel for Plaintiffs CAR-FRESHNER Corporation
                                       and Julius Sämann Ltd.

Dated: September 14, 2017        By:   /s/ William H. Brewster
                                       William H. Brewster
                                       Jennifer Fairbairn Deal
                                       KILPATRICK TOWNSEND & STOCKTON
                                       LLP
                                       1100 Peachtree Street NE
                                       Suite 2800
                                       Atlanta, GA 30309-4528
                                       Telephone: (404) 815-6500
                                       Facsimile: (404) 815-6555
                                       Email: bbrewster@kilpatricktownsend.com
                                               jdeal@kilpatricktownsend.com

                                       Counsel for Defendants



PURSUANT TO STIPULATION, IT IS SO ORDERED.

Dated: September 15
                 __, 2017
                                           Hon. Andrew T. Baxter
                                           U.S. Magistrate Judge



                                       9
   Case
    Case5:23-cv-00285-DNH-TWD
          5:17-cv-00171-TJM-ATB Document
                                Document 17-1 Filed09/15/17
                                         39 Filed   06/09/23 Page
                                                              Page1033ofof1141




                                           EXHIBIT A

                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK


 CAR-FRESHNER CORPORATION,

 and

 JULIUS SÄMANN LTD.,

                                      Plaintiffs,
                                                          Civil Action No.: 5:17-cv-171
                       v.                                 (TJM/ATB)

 AMERICAN COVERS, LLC F/K/A AMERICAN
 COVERS, INC. D/B/A HANDSTANDS,
 ENERGIZER HOLDINGS, INC., and
 ENERGIZER BRANDS, LLC,

                                      Defendants.


                            ASSURANCE OF CONFIDENTIALITY

       I, _____________________, acknowledge that I have read and understand the Protective

Order in this action governing the non-disclosure of those portions of the Material that have been

designated as Confidential or Confidential – Attorneys’ Eyes Only. I agree that I will not

disclose such Material to anyone other than as permitted by the Protective Order and that at the

conclusion of the litigation I will return all disclosed Material to the party or attorney from whom

I received it. By acknowledging these obligations under the Protective Order, I understand that I

am submitting myself to the jurisdiction of the United States District Court for the Northern

District of New York for the purpose of any issue or dispute arising hereunder and that my

willful violation of the Protective Order could subject to me punishment for contempt of Court.




                                                    10
   Case
    Case5:23-cv-00285-DNH-TWD
          5:17-cv-00171-TJM-ATB Document
                                Document 17-1 Filed09/15/17
                                         39 Filed   06/09/23 Page
                                                              Page1134ofof1141




Signature:

Printed Name:

Company & Position:

Dated:




                                       11
Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 35 of 41




                SEALED EXHIBIT 4
Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 36 of 41




                       EXHIBIT 5
     Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 37 of 41




                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF NEW YORK


CAR-FRESHNER CORPORATION,                            Civil Action No. 5:23-cv-285-DNH-TWD
and JULIUS SAMANN LTD.,

Plaintiffs,

v.

ENERGIZER HOLDINGS, INC.,
ENERGIZER BRANDS, LLC, and
ENERGIZER AUTO, INC.,

Defendants.

                           DECLARATION OF TAMIKA NEWSON

        I, Tamika Newson, under penalty of perjury declare as follows:

        1.     I submit this declaration in support of Defendants’ concurrently-filed letter

requesting entry of an umbrella protective order. I am over the age of 18, am competent to testify

to the matters set forth herein, and I make this declaration based on my personal knowledge.

        2.     I am Head of Global Litigation for Defendant Energizer Holdings, Inc.

(“Energizer”). In this role, I am responsible for overseeing litigation matters that involve

Energizer and all of its affiliated entities globally. As Head of Global Litigation for Energizer, I

am the primary liaison between outside counsel and Energizer’s in-house litigation team for the

above-captioned matter and responsible for the development and implementation of Energizer’s

litigation strategy in the above-captioned matter.

        3.     Energizer Holdings has over 5400 employees. I am not involved in any decision-

making for any of Energizer’s business, except to provide purely legal advice in connection with

litigation. I am not involved in any competitive decision-making for Energizer, and, in particular,

I am not engaged in any competitive decision-making for Energizer’s air freshener business.
   Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 38 of 41




       I declare under penalty of perjury of the laws of the United States that the foregoing is

true and correct.

Executed on June 9, 2023, in Atlanta, Georgia.


                                                     s/ Tamika Newson___________________
                                                     Tamika Newson




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Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 39 of 41




                       EXHIBIT 6
     Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 40 of 41




                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF NEW YORK


CAR-FRESHNER CORPORATION,                           Civil Action No. 5:23-cv-285-DNH-TWD
and JULIUS SAMANN LTD.,

Plaintiffs,

v.

ENERGIZER HOLDINGS, INC.,
ENERGIZER BRANDS, LLC, and
ENERGIZER AUTO, INC.,

Defendants.

                         DECLARATION OF KARI WANGENSTEEN

          I, Kari Wangensteen, under penalty of perjury declare as follows:

          1.     I submit this declaration in support of Defendants’ concurrently-filed letter

requesting entry of an umbrella protective order. I am over the age of 18, am competent to testify

to the matters set forth herein, and I make this declaration based on my personal knowledge.

          2.     I am Associate General Counsel – Commercial, Categories and Brands for

Defendant Energizer Holdings, Inc. (“Energizer”). In this role, I am responsible for Energizer’s

Energizer’s trademark portfolio and provide support to Energizer’s global sales, e-commerce,

and marketing partners. Along with Tamika Newson, I am a liaison between outside counsel and

Energizer’s in-house litigation team for the above-captioned matter and assist Ms. Newson in the

development and implementation of Energizer’s litigation strategy in the above-captioned

matter.

          3.     Energizer Holdings has over 5400 employees. I am not involved in any decision-

making for any of Energizer’s business, except to provide purely legal advice. I am not involved
   Case 5:23-cv-00285-DNH-TWD Document 17-1 Filed 06/09/23 Page 41 of 41




in any competitive decision-making for Energizer, and, in particular, I am not engaged in any

competitive decision-making for Energizer’s air freshener business.

       I declare under penalty of perjury of the laws of the United States that the foregoing is

true and correct.

Executed on June 9, 2023, in St. Louis, Missouri.


                                                     s/ Kari Wangensteen____________
                                                     Kari Wangensteen




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